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                  UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                      )
                                        )
           Plaintiff,                   ) Civil Case No.
                                        )
v.                                      )
                                        )
JOHN DOE subscriber assigned IP         )
Address 23.28.64.18,                    )
                                        )
           Defendant.                   )
                                        )

     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION
     FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A
                     RULE 26(f) CONFERENCE


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     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION
     FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A
                     RULE 26(f) CONFERENCE

           Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby respectfully submits

this Memorandum in support of its Motion for Leave to serve a third party

subpoena prior to a Rule 26(f) conference.

      I.    INTRODUCTION

           Plaintiff, Malibu Media, (d/b/a “X-art.com”) operates a popular subscription

based website.1 Plaintiff creates its own content, which is being infringed on a

massive scale. The John Doe Defendant’s IP address has been habitually used to

infringe Plaintiff’s copyrighted works. Accordingly, Plaintiff seeks leave to serve

limited, immediate discovery on the John Doe Defendant’s Internet Service

Provider, WideOpenWest (hereafter “ISP”) so that Plaintiff may learn Defendant’s

true identity. Plaintiff is suing Defendant for using the Internet, specifically the

BitTorrent file distribution network, to commit direct copyright infringement.

           Because Defendant used the Internet to commit this infringement, Plaintiff

only knows Defendant by his Internet Protocol (“IP”) address. Defendant’s IP

address was assigned to the Defendant by his ISP. Accordingly, the ISP can use

the IP address to identify the Defendant.2 Indeed, ISPs maintain internal logs,

which record the date, time, and customer identity for each IP address assignment

1
    See, e.g., Declaration of Colette Pelissier, attached hereto as Exhibit “A.”
2
    See, e.g., Declaration of Patrick Paige, attached hereto as Exhibit “B.”
                                                    1
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made by that ISP. Significantly, ISPs may maintain these logs for only a short

period of time.3

       Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s

ISP. This subpoena will demand the true name and address of Defendant. Plaintiff

will only use this information to prosecute the claims made in its Complaint.

Without this information, Plaintiff cannot serve Defendant nor pursue this lawsuit

to protect its valuable copyrights.

    II. FACTS

       A. Online Copyright Infringement Through the BitTorrent Protocol is a
          Serious and Significant Threat to Plaintiff’s Business

       Colette Pelissier is the owner of Malibu Media. See Exhibit A at ¶ 3. Ms.

Pelissier developed the X-Art.com business plan in 2010 while still working full

time as a realtor in the Los Angeles market. Id. at ¶ 4. X-Art.com was created to

address the lack of artistically produced adult oriented content suitable for upscale

women and couples. Id. Ms. Pelissier chose the name ‘X-Art’ to reflect her artistic

aspirations, and began investing all of her available money and resources into the

production of content – particularly erotic movies with high production value and a


3
  See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division
Before The Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland
Security      United    States    House        Of    Representatives,    (January     2011)    at
http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/11//01-25-11-
crm-weinstein-testimony-re-data-retention-as-a-tool-for-investigating-internet-child-
pornography-and-other-internet-crimes.pdf, stating: “Some [ISP] records are kept for weeks or
months; others are stored very briefly before being purged.”
                                               2
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cinematic quality. Id. at ¶ 8. She knew that the adult content industry was in

financial crisis, and the odds of success for a new adult website were low. Id.

      Her vision has come to fruition. Currently X-Art.com has tens of thousands

of paying subscribers, but Malibu Media is finding it hard to grow and maintain the

memberships when so many of the movies are being distributed for free, without

authorization, by users of the BitTorrent Network. See generally id. As X-Art's

subscriber base has grown, production expenditures have also grown. Id. at ¶ 9.

Plaintiff spends over two million dollars a year producing content, and millions

more each year to run the business. Id. For the first several years of operation, X-

Art did not have significant issues with piracy. Id. at ¶ 10. However, once our

content became well known and highly desirable, X-Art movies started ranking as

the most downloaded adult content on several of the most popular torrent websites.

Id. Malibu Media invests significant resources into pursuing all types of anti-

piracy enforcement, such as Digital Millennium Copyright Act ("DMCA")

takedown notices and direct efforts aimed at infringing websites. Id. at ¶ 21.

Malibu Media is even working with law enforcement to stop the piracy of our

movies.     Id.   Despite sending thousands of DMCA notices per week, the

infringement continues. Id. at ¶ 22. And, if one searches for “X-Art” on a torrent

website, the site will reveal thousands of unauthorized torrents available for free.

Id. Plaintiff Malibu Media has filed suit in this judicial district and in judicial


                                          3
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districts across the country seeking to deter and stop the infringement.

      Plaintiff won the first ever BitTorrent copyright infringement lawsuit to

reach trial. See Malibu Media, LLC v. John Does 1, 6, 13, 14 and Bryan White,

2013 WL 3038025 at n.1 (E.D. Pa. June 18, 2013). In his Memorandum Report

after the conclusion of the trial, the Honorable Judge Baylson made a number of

significant findings. Importantly, Judge Baylson found “Malibu has satisfied its

burden of proof with substantial evidence and deserves a large award.” Malibu

Media, LLC v. John Does 1, 6, 13, 14, CIV.A. 12-2078, 2013 WL 3038025 (E.D.

Pa. June 18, 2013).

      B. Courts throughout the Country Have Expressly Found that Malibu
         Media’s Counsel do not Engage in Improper Litigation Tactics

      Judge Baylson expressly emphasized that “Malibu is not what has been

referred to in the media and legal publications, and in the internet blogosphere, as a

‘copyright troll’ . . . Rather, Malibu is an actual producer of adult films and owns

valid copyrights, registered with the United States Copyright Office, in its works.”

Id. (emphasis in original).    The Honorable Judge Hegarty of the District of

Colorado has also acknowledged Plaintiff’s good faith and stated: “the Court has . .

. witnessed firsthand the Plaintiff’s willingness to resolve cases without any

monetary payment when a Defendant credibly denies infringement.” E.g., Malibu

Media, LLC v. John Does 1-2, 4-8, 10-16, 18-21, 2013 WL 1777710 (D. Colo. Feb.

12, 2013).
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      Other courts have opined that the criticism often attributed to filers of

BitTorrent lawsuits is unwarranted when directed at Plaintiff. “[N]one of the

instances of improper litigation tactics that have been brought to our attention

involve plaintiff or plaintiff's counsel. We are reluctant to prevent plaintiff from

proceeding with its case based only on a ‘guilt-by-association’ rationale.” Malibu

Media, LLC v. John Does 1-5, 285 F.R.D. 273, 278 (S.D.N.Y. 2012).

“[Defendant] has not presented any evidence that Malibu has engaged in harassing

behavior for the Court to consider, nor has the Court observed bad faith behavior

or the use of improper tactics on its part thus far.” Malibu Media, LLC v. John

Does 1-6, 2013 WL 2150679 (N.D. Ill. May 17, 2013); Malibu Media, LLC v. John

Does 1-30, 2:12-cv-13312-DPH-MJH [CM/ECF 61] *15 (E.D. Mich. May 16,

2013) (same); Malibu Media, LLC v. John Does 1-9, 8:12-cv-00669-SDM-AEP

[CM/ECF 25] *7 (M.D. Fla. July 6, 2012) (same); see also Malibu Media, LLC v.

Doe, No. 14-cv-00223, 2014 WL 4682793, *1 (D. Md. Sept. 18, 2014) (“Malibu

has complied with these procedures and this Court is unaware of any allegations of

abuse.”).




                                         5
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      C. Plaintiff Does Not Solicit Settlements Prior to Serving a Defendant and
         Always Consents to Allowing a John Doe Defendant to Proceed
         Anonymously

      Plaintiff has filed this suit for the sole purpose of protecting and enforcing its
copyrights.

      We do not seek to use the Court system to profit from the
      infringement like some have suggested. As previously stated,
      revenues from subscriptions to X-Art.com are by far and away the
      dominant driver of Malibu Media's business. We want the
      infringement to stop. The purpose of these lawsuits is to motivate
      people to pay for subscriptions by deterring infringement and seek
      some reasonable compensation for the massive amount of
      infringement of our copyrights.

Exhibit A at ¶ 31. Plaintiff has no intention of embarrassing Defendant because of

the content of the works at issue and has instructed all of its counsel to always

consent to allowing defendants to proceed anonymously through discovery.

Further, Plaintiff does not extend settlement offers prior to serving a defendant

with the complaint and in all of its individual suits against a defendant, has only

settled prior to serving when the defendant has initiated the request. Should the

Court wish to include language in its Order preventing Plaintiff from initiating

settlements with Defendant and allowing Defendant to proceed anonymously,

Plaintiff will not object.

      D. The Infringer

      Defendant’s Internet was used to infringe 5 of Plaintiff’s copyrighted movies

between 06/03/2017 and 06/10/2018.             See Exhibit A to Complaint.          By


                                           6
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downloading each of these movies through the BitTorrent protocol, Defendant

simultaneously distributes these movies to others, allowing other people to also

steal Plaintiff’s movies. See Complaint, at ¶¶ 11–25.

      The length of time which Plaintiff’s investigator recorded Defendant

utilizing the BitTorrent protocol to download and distribute works on the Internet

demonstrates that the Infringer was not a mere guest or passerby. It was someone

with access to Defendant’s Internet for a long period of time, consistently.

   III. ARGUMENT

      A. Legal Standard Governing Expedited Discovery Requests To Identify An
         Anonymous Defendant

      Except for circumstances not applicable here, a party may not propound

discovery in advance of a Rule 26(f) conference absent court order. See FED. R.

CIV. P. 26(d)(1). Since the identification of the infringer is “indispensable for the

vindication of [a] plaintiff’s copyright rights,” courts readily authorize expedited

discovery in online copyright infringement cases. Arista Records, LLC v. Doe, 604

F.3d 110, 115 (2d Cir. 2010) (emphasis supplied). Indeed, courts have adopted a

“flexible standard of reasonableness and good cause” to grant motions that seek

leave to identify infringers known only by an anonymous IP address. See id.;

Malibu Media LLC v. Doe, 2013 U.S. Dist. LEXIS 132341, *2 (E.D. Mich. Sept.

17, 2013) (collecting cases). To satisfy this standard, a plaintiff need only (1) make

a prima facie showing of a claim of copyright infringement; (2) submit a specific
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discovery request; (3) credibly allege an absence of alternative means to obtain the

requested discovery; (4) sufficiently articulate a central need for the subpoenaed

information; and (5) viably show that the defendant has a minimal expectation of

privacy. E.g., Cobbler Nev., LLC v. Doe, 2015 U.S. Dist. LEXIS 90989, *3 (E.D.

Mich. July 14, 2015); Malibu Media, LLC v. Doe, 2014 U.S. Dist. LEXIS 169246,

*6 (E.D. Mich. Dec. 8, 2014); Media v. Subscriber, 2013 U.S. Dist. LEXIS 92467,

*3-4 (E.D. Mich. July 2, 2013) (citing Arista Records, 604 F.3d at 119)).

      Federal Circuit Courts have unanimously approved of this procedure of

using expedited discovery to identify anonymous defendants. “Plaintiffs are

permitted to bring suit against unnamed ‘John Doe’ defendants until discovery or

other information reveals the identity of the party.” Brown v. Owens Corning Inv.

Review Comm., 622 F.3d 564, 572 (6th Cir. 2010).

       “[C]ourts have rejected the dismissal of suits against unnamed defendants . .

. identified only as ‘John Doe’s . . . until the plaintiff has had some opportunity for

discovery to learn the identities.” Davis v. Kelly, 160 F.3d 917, 921 (2d Cir. 1998);

see also, Penalbert-Rosa v. Fortuno-Burset, 631 F.3d 592 (1st Cir. 2011) (“A

plaintiff who is unaware of the identity of the person who wronged her can . . .

proceed against a ‘John Doe’ . . . when discovery is likely to reveal the identity of

the correct defendant.”). Accord Blakeslee v. Clinton Cnty, 336 Fed. Appx. 248,

250 (3d Cir. 2009) (same); Young v. Transp. Deputy Sheriff I, 340 Fed. Appx. 368


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(9th Cir. 2009) (same); Green v. Doe, 260 Fed. Appx. 717, 719 (5th Cir. 2007)

(same); Krueger v. Doe, 162 F.3d 1173 (10th Cir. 1998) (same); Dean v. Barber,

951 F.2d 1210, 1215 (11th Cir. 1992) (same); Munz v. Parr, 758 F.2d 1254, 1257

(8th Cir. 1985) (same); Maclin v. Paulson, 627 F.2d 83, 87 (7th Cir. 1980) (same).

      B. Good Cause Exists to Grant the Motion

         1. Plaintiff Has Alleged a Prima Facie Claim for Copyright
            Infringement

      To sufficiently state a prima facie claim of infringement, Plaintiff must

plausibly allege: (1) ownership of a valid copyright and (2) unauthorized copying

of original elements of the copyrighted work. See Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009); Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991);

Malibu Media, LLC v. Doe, 297 F.R.D. 323, 328 (W.D. Mich. 2012). Plaintiff’s

Complaint meets these requirements:

      30. Plaintiff is the owner of the Copyrights-in-Suit, as outlined in
          Exhibit B, each of which covers an original work of authorship.

      31. By using BitTorrent, Defendant copied and distributed the
          constituent elements of each of the original works covered by the
          Copyrights-in-Suit.
      32. Plaintiff did not authorize, permit or consent to Defendant’s
          distribution of its works.

Complaint at ¶¶ 30–32. See 17 U.S.C. §106; In re Aimster Copyright Litig., 334

F.3d 643, 645 (7th Cir. 2003), cert. denied, 124 S. Ct. 1069 (2004) (“Teenagers

and young adults who have access to the Internet like to swap computer files

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containing popular music. If the music is copyrighted, such swapping, which

involves making and transmitting a digital copy of the music, infringes

copyright.”); Malibu Media, LLC v. John Does 1-11, 2013 WL 3732839 (S.D.N.Y.

2013) (“Plaintiff has made a concrete, prima facie case of copyright infringement

by alleging ownership of the registered copyright and alleging unlawful

downloading, copying, and distribution of this work by specifying the type of

technology used, the IP address from which the file was accessed and shared, and

the date and time of the infringement.”).

       Since Plaintiff obtained copyrights for its works from the United States

Register of Copyrights, see CM/ECF 1-2 (providing registration numbers), it

establishes prima facie evidence that its works are copyrightable and validly

copyrighted. See 17 U.S.C. § 410(c); Varsity Brands, Inc. v. Star Athletica, LLC,

799 F.3d 468, 477 (6th Cir. 2015) (“A certificate of registration constitute[s] prima

facie evidence of the validity of the copyright and of the facts stated in the

certificate.”) (internal quotations and citations omitted).4 Further, Plaintiff’s prima

facie allegations of infringement are attested to by Plaintiff’s investigator, IPP

International UG employee, Tobias Fieser. See Declaration of Tobias Fieser in

Support of Plaintiff’s Motion for Leave to Serve Third Party Subpoenas Prior to a


4
  The burden will therefore fall on Defendant to “demonstrate that [Plaintiff’s works] are not
copyrightable,” Sorenson v. Wolfson, No. 10 cv 4596, 2015 WL 1454498, *11 (S.D.N.Y. Mar.
31, 2015) (Koeltl).
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Rule 26(f) Conference (“Fieser Declaration”), at ¶¶ 8–10, attached hereto as

Exhibit “C.” And, each digital file, as identified by a unique cryptographic file

hash value, has been verified to be a copy or contain copies of one of Plaintiff’s

copyrighted works. Id.

       Indeed, the infringement detection system Plaintiff uses to identify infringers

has been tested and deemed valid. See generally Exhibit “B.” During the first ever

BitTorrent copyright lawsuit to reach trial, Judge Baylson likewise concluded

Plaintiff’s technology was valid. See Malibu Media, LLC v. John Does 1, 6, 13,

14, 950 F. Supp. 2d 779, 782 (E.D. Pa. 2013) (“I concluded that Malibu had

expended considerable effort and expense to determine the IP addresses of the

infringing parties, and the technology employed by its consultants—both of whom

were located in Germany and who testified at the trial of June 10, 2013—was

valid.”).

             a. Plaintiff Sufficiently and Plausibly Connects Defendant To The
                Infringement

       Since plausibility is the standard, “[p]roof is not required to properly plead a

claim for copyright infringement,” and Plaintiff does not need to establish with

100% certainty that Defendant, the individual assigned the infringing IP address, is

the infringer.   Malibu Media, LLC v. Harris, No. 1:12-cv-1117, 2013 WL

3780571, *3 (S.D. Ind. July 18, 2013); Ford Motor Co. v. Autel US Inc., 2016 U.S.

Dist. LEXIS 85875, *7–8 (E.D. Mich. July 1, 2016) (“[T]o plead copyright
                                          11
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infringement, a party must show plausible grounds for infringement by pleading

‘enough fact[s] to raise a reasonable expectation that discovery will reveal

evidence’ of copyright infringement.”) (citation omitted). Plaintiff must only plead

enough factual content “that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” James v. Hampton, 592 Fed.

Appx. 449, 454 (6th Cir. 2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)). Consequently, Plaintiff’s well-pled allegations constitute “a concrete,

prima facie case of copyright infringement.”       Malibu Media, LLC, 2013 WL

3732839 at *5; see also, e.g., Malibu Media, LLC v. Doe, No. 1:15-cv-00366,

CM/ECF 16 (E.D. Va. July 23, 2015) (“It is reasonable to draw the inference that

the party responsible for downloading . . . was the party responsible for the internet

connection. Malibu Media is not required to prove its case at the pleading stage.”);

Malibu Media, LLC v. Doe, No. 14-cv-0932, 2015 WL 2451926, *3 (E.D. Wisc.

May, 21, 2015) (same); Malibu Media, LLC v. Dreev, No. 6:13-cv-1959, CM/ECF

35 (M.D. Fla. Jan. 5, 2015) (same); Malibu Media, LLC v. Doe, No. No. PWG-13-

365, 2014 WL 7188822, *5 (D. Md. Dec. 16, 2014) (same); Dallas Buyers Club,

LLC v. Doe, 2015 U.S. Dist. LEXIS 12188, *1 (D. Conn. Feb. 3, 2015) (“After

setting forth a plausible prima facie claim, however, DBC has no additional duty,

at the pleading stage, to plead particularized facts for each individual who may




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have used an infringing IP address.”); Malibu Media, LLC v. Doe, 2013 U.S. Dist.

LEXIS 92466, *4–5 ( E.D. Mich. July 2, 2013).5

           2. Plaintiff Has Clearly Identified Specific Information It Seeks Through
              Discovery

       Plaintiff seeks to discover from the Defendant’s ISP the true name and

address of the Defendant. This is all specific information in the possession of

Defendant’s ISP that will enable Plaintiff to serve process on Defendant. This

limited and specific request satisfies the second good cause factor because it only

seeks that which is necessary to enable Plaintiff to effectuate service on Defendant

and proceed with this lawsuit. See Clear Skies Nev., LLC v. Doe, 2015 U.S. Dist.

LEXIS 141489, *2–3 (E.D. Mich. Oct. 19, 2015) (“Disclosure of the information

requested is ordered pursuant to 47 U.S.C. § 551(c)(2)(B), which authorizes cable

operators to disclose personally identifiable information when the cable operators

are ordered to do so by a court. Any information disclosed to Plaintiff in response

to the Rule 45 subpoena may be used solely for the purpose of protecting Plaintiff's

rights as set forth in the Complaint.”); Cobbler Nev., LLC v. Doe, 2015 U.S. Dist.

LEXIS 90989, *3–4 (E.D. Mich. July 14, 2015); Malibu Media, LLC v. Doe, 2015

U.S. Dist. LEXIS 4795, *6–7 ( E.D. Mich. Jan. 15, 2015); Malibu Media, LLC v.


5
  Even if Defendant is not the infringer, “the information sought by the subpoena is reasonably
calculated to lead to the discovery of information necessary to allow Plaintiff to ascertain the
infringer’s true identity.” Malibu Media, LLC v. Doe, No. 14-3945, 2015 WL 3795716, *2–4
(D. N.J. June 18, 2015).
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Doe, 2013 U.S. Dist. LEXIS 92466, *4–5 (E.D. Mich. July 2, 2013) (“The

information is also necessary, otherwise unavailable and the information sought, as

modified by this Court's order, is narrowly tailored to the limited purpose of

discovering the identity of the individual associated with the identified IP

address.”).

           3. No Alternative Means Exist to Obtain Defendant’s True Identity

       There are no publicly-available databases or “yellow pages” that can identify

an individual by an IP address; Plaintiff knows Defendant only by his or her IP

address. The government, law enforcement officials, criminal and civil judges, and

ISPs alike all acknowledge that subpoenaing an ISP is the only way to identify an

internet subscriber. Congress has also so found, and has expressly created this

system for copyright holders to subpoena ISPs in order to identify copyright

infringers.6

       People using the Internet are anonymous to the public, but the ISPs

responsible for assigning any given IP address “know who an address is assigned




6
  Major record labels and film studios also enforce their copyrights against piracy in the federal
court system in this way. See, e.g., Sony BMG Music Entm’t v. Tenenbaum, 660 F.3d 487, 492
(1st Cir. 2011) (“Shortly after peer-to-peer networks first appeared, plaintiffs acknowledged the
threat they posed to their industry and initiated a broad campaign to address the illegal
infringement of copyrighted materials.”); Paramount Pictures Corp. v. Davis, 234 F.R.D. 102,
104 (E.D. Pa. 2005) (“With the aid of other technological developments, the internet also has
afforded users with opportunities to infringe on the rights of owners of copyrighted works,
including motion pictures.”).
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to and how to get in contact with them.”7 ISPs’ records “are the only available

evidence that allows us to investigate who committed crimes on the Internet. They

may be the only way to learn, for example, that a certain Internet address was

used by a particular human being to engage in or facilitate a criminal offense.”8

      The Government—and law enforcement in particular—also acknowledges

that issuing a subpoena to the responsible ISP is the only way to identify the

subscriber of an IP address. Plaintiff’s forensics expert has affirmed that during

the eleven years he spent investigating computer crimes, the government always

had to obtain subscribers’ identifying information from ISPs. See Exhibit “B” at

¶¶ 13–16, 36. And, every single case that Plaintiff has reviewed supports this

conclusion. See, e.g., Media v. Subscriber, 2013 U.S. Dist. LEXIS 92467, *4–5

(E.D. Mich. July 2, 2013); Malibu Media, LLC v. Doe, 2013 U.S. Dist. LEXIS

92466, *4–5 (E.D. Mich. July 2, 2013); Malibu Media, LLC v. Doe, 297 F.R.D.

323, 328 (W.D. Mich. 2012); Malibu Media, LLC v. Doe, 2015 U.S. Dist. LEXIS

6649, *12 (S.D. Ohio Jan. 21, 2015).

      District courts across the country likewise recognize this, routinely

explaining “the Court can think of no other reasonable way of discovering the

infringer than by permitting Plaintiff discovery into the identity of Doe.” Voltage
7
    Beginner’s Guide to Internet Protocol (IP) Addresses at p. 4, available at
https://www.icann.org/en/system/files/files/ip-addresses-beginners-guide-04mar11-en.pdf.;
American Registry for Internet Numbers Number Resource Policy Manual at 4.2, available at
https://www.arin.net/policy/nrpm.html#four2.
8
  Statement from Jason Weinstein, n.3, supra.
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Pictures, LLC v. Does, No. 13-cv-01121, 2013 WL 4028587, *3 (D. Colo. Aug. 7,

2013).   “[S]ubpoenaing the ISP . . . is the only means to obtain identifying

information” Malibu Media, LLC v. Doe, No. 1:15-cv-01834, 2015 WL 4403407,

*2 (S.D.N.Y. July 20, 2015) (Koeltl). Accord Cobbler Nevada, LLC v. Does, No.

2:15-cv-11871, 2015 WL 4276082, *1 (E.D. Mich. July 14, 2015) (same); In re

Malibu Media, No. 15-cv-1855, 2015 WL 3605834, *4 (E.D.N.Y. June 8, 2015)

(same); Rotten Records, Inc. v. Doe, No. 1:15-cv-0446, 2015 WL 3540007, *1

(W.D.N.Y. June 4, 2015) (same). See also John Wiley & Sons, Inc. v. Doe, 284

F.R.D. 185, 188 (S.D.N.Y. 2012) (“[Plaintiff] has explained that the use of the

BitTorrent software is ‘largely anonymous’ except insofar as it requires a user to

broadcast the user's IP address . . . . [Plaintiff] has established that it lacks the

means to obtain the subscriber's identifying information, other than by

subpoena.”); Malibu Media LLC v. John Does 1-12, 2012 WL 5928528 (C.D. Ill.

2012) (“Because of the very nature of internet infringement, it is often the case that

a plaintiff cannot identify an infringer in any way other than by IP number. Given

the substantial federal policy underlying copyright law, it would be a travesty to let

technology overtake the legal protection of that policy.”).

      Prior to seeking leave to subpoena WideOpenWest, Plaintiff searched for

Defendant’s IP address on various web search tools, including basic search engines

like http://www.google.com. Plaintiff further conducted its own research on its


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ability to identify Defendant by reviewing numerous sources of authority, most of

which have been discussed above (e.g., legislative reports, agency websites,

informational technology guides, governing case law, etc.).                      Plaintiff also

discussed the issue at length with its computer forensics investigator—an

individual who was tasked with the responsibility of investigating and identifying

cybercriminals for over ten years. See generally Exhibit “B.” And, Plaintiff

discussed these issues with at least two different ISPs.9 In short, there is no way to

obtain the identity of an Internet subscriber except from the subscriber’s ISP.

           4. Plaintiff Needs the Subpoenaed Information to Advance the Asserted
              Claims

       Without learning the Defendant’s true identity, Plaintiff will not be able to

serve the Defendant with process and proceed with this case. Plaintiff’s important

statutorily protected property rights are at issue in this suit and, therefore, the

equities weigh heavily in favor of preserving Plaintiff’s rights. That is, “Without

Defendant's identifying information, Plaintiff would be unable to enforce its rights

over the named copyrighted works.” Malibu Media, LLC v. Doe, 2016 U.S. Dist.

LEXIS 92069, *11 (D.N.J. July 14, 2016). Indeed, as set forth above, Plaintiff has

chosen to file suit only against the worst of the worst infringers–i.e. those that have

repeatedly infringed numerous works over an extended period of time.

9
 The ISPs with whom Plaintiff consulted confirmed their unique ability to identify their Internet
subscribers, but neither were willing to provide an affidavit absent court order. Should these
communications be pertinent to the Court’s analysis, Plaintiff can supply them upon request.
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      Because identifying Defendant by name is necessary for Plaintiff to advance

the asserted claims, Plaintiff has established the fourth good cause factor. See

Malibu Media, LLC v. John Does 1-11, 2013 WL 3732839 (S.D.N.Y. 2013)

(“Ascertaining the identities and residencies of the Doe defendant[] is critical to

[Plaintiff's] ability to pursue litigation, for without this information, [Plaintiff] will

be unable to serve process.” (quoting Sony Music Entm’t v. Does 1-40, 326 F.

Supp. 2d 556, 566 (S.D.N.Y. 2004)); see also Malibu Media, LLC v. Doe, 2013

U.S. Dist. LEXIS 92466, *4–5 (E.D. Mich. July 2, 2013); AF Holdings LLC v.

Doe, 2012 U.S. Dist. LEXIS 152395, *5–6 (N.D. Cal. Oct. 23, 2012) (collecting

cases).

          5. Plaintiff’s Interest in Knowing Defendant’s True Identity Outweighs
             Defendant’s Interest in Remaining Anonymous

      Finally, Plaintiff satisfies the fifth good cause factor because Plaintiff has a

strong, legitimate, and Constitutionally-protected interest in enforcing its

copyrights. Defendant, on the other hand, is a systematic copyright infringer—or

at the very least the subscriber to an IP address that is being used to infringe

copyrights. As a matter of law, Internet subscribers do not have a legitimate

expectation of privacy in allowing their wireless Internet connections to be used to

anonymously and illegally distribute copyrighted content. See, e.g., Raw Films,

Ltd. v. John Does 1-15, No. 11-7248, 2012 WL 1019067, *8 (E.D. Pa. Mar. 26,

2012); Columbia Pictures, Inc. v. Bunnell, 245 F.R.D. 443, 452 (C.D. Cal. 2007).
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Nor does Defendant have an expectation of privacy in his identifying information

“because [that information] has already been exposed to a third party, the Internet

Service Provider.”    Malibu Media, LLC v. Does, No. 1:12-cv-263, 2012 WL

6019259, *4 (N.D. Ind. Dec. 3, 2012); Malibu Media, LLC v. Doe, 2013 U.S. Dist.

LEXIS 92466, *4 (E.D. Mich. July 2, 2013) (collecting cases); Safety Point Prods.,

LLC v. Does 1-57, 2013 U.S. Dist. LEXIS 49521, *4–5 (E.D. Tenn. Apr. 5, 2013)

(“The federal courts have consistently held that internet subscribers do not have a

reasonable expectation of privacy in their subscriber information — including their

name and address — as they have already conveyed such information to their

ISPs.”) (collecting cases); Malibu Media, LLC v. Doe, 297 F.R.D. 323, 328 (W.D.

Mich. 2012) (“Defendant voluntarily provided this information to the third-party

ISP that is subject to the subpoena.”). Defendant’s desire to remain anonymous is

necessarily outweighed by Plaintiff’s legal rights. See Arista Records, LLC, 604

F.3d at 117, 124 (“[T]o the extent that anonymity is used to mask copyright

infringement or to facilitate such infringement by other persons, it is unprotected”);

Purzel Video GmbH v. Doe, 2013 U.S. Dist. LEXIS 179738, *9–10 (N.D. Ill. Dec.

19, 2013) (“Although the defendants do have a right to express themselves

anonymously on the internet, those speech rights are limited and are outweighed by

Purzel's need for the subpoenaed information.”).

      C. Plaintiff Used Geolocation Technology to Make a Prima Facie Case of
         Personal Jurisdiction
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      As set forth in Plaintiff’s Complaint, “Plaintiff used proven IP address

geolocation technology which has consistently worked in similar cases to ensure

that the Defendant’s acts of copyright infringement occurred using an Internet

Protocol address (“IP address”) traced to a physical address located within this

District.” See Complaint at ¶ 5. Specifically, Plaintiff used Maxmind® Premium’s

IP geolocation database to determine that Defendant properly resided in a location

both within the state of Michigan and this district.

      Courts have previously held that “[w]hile such publicly available IP locators

are not 100% accurate, they have been accepted as making out a prima facie case

of personal jurisdiction.” Digital Sins, Inc. v. John Does 1-245, No. 11 CIV. 8170

CM, 2012 WL 1744838, at *4 (S.D.N.Y. May 15, 2012); see Malibu Media, LLC

v. Doe, 2014 U.S. Dist. LEXIS 107084, *2 (E.D. Mich. Aug. 5, 2014) (granting

motion for leave after establishing good cause and jurisdiction using geolocation);

Malibu Media, LLC v. Doe, 2014 U.S. Dist. LEXIS 141831, *4 (S.D. Ohio Oct. 6,

2014) (quashing defendnat’s motion to dismiss Plaintiff’s subpoena).         From

Plaintiff’s experience, Maxmind’s Geolocation database has consistently predicted

the location of the Defendant 99% of the time. Indeed, this exact geolocation

technology has also been relied upon by federal law enforcement. See United

States v. Tillotson, 2:08-CR-33, 2008 WL 5140773 (E.D. Tenn. Dec. 2, 2008)

(noting that Maxmind’s database correctly identified the Defendant and is
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sufficient to establish probable cause); Aguilar v. Parris, 2016 U.S. Dist. LEXIS

131384, *34 (M.D. Tenn. Sept. 26, 2016); (used by Homeland Security to identify

the defendant).

   IV. CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests this Court grant

leave to Plaintiff to issue a Rule 45 subpoena to the ISP..

                                               Respectfully submitted,

                                               BOROJA, BERNIER &
                                               ASSOCIATES PLLC

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                     CERTIFICATE OF COMPLIANCE

       Pursuant to E. D. Mich. LR 5.1(a) I hereby certify that the foregoing has

been prepared using one of the font and point selections approved by the Court in

E. D. Mich. LR 5.1(a)(3). This document was prepared using Times New Roman

(14 pt.).

                                            /s/ Joel A. Bernier
                                            By: JOEL A. BERNIER (P74226)




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